                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE

                                                     )
IN RE:     Matthew D. Barocas, BPR # 031962          )       FILED UNDER SEAL
           1403 N 4th Ave.                           )       No.: 1:24-dm-01
           Knoxville, TN 37917-6008                  )
                                                     )       Chief District Judge
                                                     )       Travis R. McDonough


                                   ORDER OF SUSPENSION


         Because the Tennessee Supreme Court suspended the law license of Matthew D. Barocas,

this Court ordered Matthew D. Barocas to show cause why he should not be suspended from the

practice of law in the United States District Court, Eastern District of Tennessee [Doc. 1]. Attorney

Barocas filed an answer to the show cause order “accept[ing] discipline from this Court reciprocal

to the discipline imposed by the Tennessee Supreme Court” and requesting “that any suspension

imposed by this Court be effective nunc pro tunc from January 9, 2024, the date of his suspension

by the state court.” Accordingly, Matthew D. Barocas is SUSPENDED from the practice of law

in the United States District Court, Eastern District of Tennessee. The suspension shall be a matter

of public record. Upon his reinstatement to the practice of law by the Tennessee Supreme Court,

Attorney Barocas may seek reinstatement to the practice of law in the United States District Court,

Eastern District of Tennessee, pursuant to E.D. Tenn. L.R. 83.7.

         SO ORDERED.


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